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                                                                                            December 8, 2022
VIA ECF
Clerk of the Court
United States Court of Appeals for the Second Circuit
500 Pearl Street
New York, NY 10007

                     Re:           Lexington Furniture Industries, Inc. v. The Lexington Company, AB
                                   No. 22-2993
                                   Proposed Scheduling Notification

Dear Clerk of the Court:

        Pursuant to Local Rule 31.2(a)(1), Defendant-Appellant The Lexington Company, AB
requests that the deadline for filing Appellant’s brief be set for March 6, 2023.

                                                                              Respectfully submitted,
                                                                              /s/ Timothy D. Pecsenye
                                                                              TIMOTHY D. PECSENYE

cc:         All Appearing Attorneys (by ECF)




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